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              United States Court of International Trade
   Honorable Gary S. Katzmann, Timothy M. Reif and Jane A. Restani

                             Appearance Sheet

Docket No. 25-00077
Hearing
May 21, 2025
Courtroom 1
2:00 p.m.
Jurisdiction 1581(i)
                         The State of Oregon et al,
                                Plaintiffs,
                                     v.
                          Donald J. Trump et al
                               Defendants.
                                  Counsel
Plaintiff
Brian Simmonds Marshall
Oregon Department of Justice
Mark Ladov
NYS Office of The Attorney General

Also Attending
Dan Rayfield
Attorney General of the State of Oregon
Dustin Buehler
Special Counsel to the Attorney General of the State of Oregon

Defendant
Brett Shumate
Patricia McCarthy
Justin Miller
Sosun Bae
U.S. Department of Justice
